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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

v.
Case No: 8:20-mj-1518AEP

MUHAMMED MOMTAZ AL-AZHARI /
ORDER

This defendant is in the custody of the United States Marshal. The court has been advised
that he is in need of medical attention and/or prescribed medication while in custody.

It is therefore ORDERED that:

(1) The defendant shall receive immediate medical attention at the place of
incarceration and shall receive all currently prescribed medications unless discontinued by a
physician.

DONE and ORDERED at Tampa, Florida, this 27" day of May, 2020.

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FLIZABETH A. JENKINS
UNITED STATES MAGISTRATE JUDGE
